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                             Exhibit D
Case 2:14-cv-00810-JRG-RSP          Document 35-4     Filed 01/05/17   Page 2 of 8 PageID #:
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    McQuiston Joe                                                              December 2, 2016



                                                                                   Page 1
                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE EASTERN DISTRICT OF TEXAS
                                      MARSHALL DIVISION

             KIMBERLY L. COX,         )
               Plaintiff,             )
                                      )
             vs.                      )CIVIL NO. 2:14-cv-00810-JRG-RSP
                                      )
             MEGAN BRENNAN, Postmaster)
             General of the United    )
             States, U.S. Postal      )
             Services,                )
               Defendant.             )




                         ________________________________________

                                             ORAL DEPOSITION

                                              JOE MCQUISTON

                                     DECEMBER 2, 2016
                         ________________________________________


                    ORAL DEPOSITION OF JOE MCQUISTON, produced as a

             witness at the instance of the Plaintiff and duly sworn,

             was taken in the above-styled and -numbered cause on the

             2nd day of December, 2016, from 10:19 a.m. to 1:37 p.m.,

             before Amber Collins, Certified Shorthand Reporter in

             and for the State of Texas, reported by computerized

             stenotype machine at the offices of the U.S. Attorney's

             Office, 110 North College, Suite 700, Tyler, Texas

             75702, pursuant to the Federal Rules of Civil Procedure

             and the provisions stated on the record or attached

             hereto.


    Central Texas Litigation Support Services, Inc.                                254-399-9400
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                                                                       Page 2                                                      Page 4
       1                 APPEARANCES                                             1                EXHIBITS (cont.)
       2                                                                         2   EXHIBIT        DESCRIPTION                   MARKED
       3   FOR PLAINTIFF:
                                                                                 3
       4     Ms. Rebecca L. Fisher
             ATTORNEY AT LAW                                                         12        PS Form 1769/301 Accident        108
       5     P.O. Box 781369                                                     4            Report
             San Antonio, Texas 78278                                            5   13        Dallas District Safety Accident 113
       6     Telephone: (210)988-2977                                                         Call-In Sheet
             Fax: (210)988-2907
                                                                                 6
       7     E-mail: rebeccafisherlaw@gmail.com
       8                                                                             14        Documents Mr. McQuiston Brought 118
       9   FOR DEFENDANT:                                                        7            In
      10     Mr. Bradley Visosky                                                 8   15        Documents Mr. McQuiston Brought 118
             ASSISTANT UNITED STATES ATTORNEY FOR THE EASTERN                                 In
      11     DISTRICT OF TEXAS
                                                                                 9
             101 East Park Boulevard
      12     Suite 500                                                          10
             Plano, Texas 75074                                                 11
      13     Telephone: (972)509-1201                                           12
             Fax: (972)509-1209                                                 13
      14     E-mail: bradley.visosky@usdoj.gov
                                                                                14
      15
      16   ALSO PRESENT: Kim Cox and Tamra Fisher                               15
      17                                                                        16
      18                                                                        17
      19                                                                        18
      20
                                                                                19
      21                 REPORTER'S NOTE
      22          Uh-huh = Yes - Affirmative response
                                                                                20
                   Huh-uh = No - Negative response                              21
      23     Quotation marks are used for clarity and do not                    22
                 necessarily indicate a direct quote.                           23
      24     Ellipses are used only to show that an answer has                  24
                 trailed off and not been interrupted.
      25
                                                                                25


                                                                       Page 3                                                      Page 5
       1                       INDEX                                             1               PROCEEDINGS
       2                                            PAGE                         2                (DECEMBER 2, 2016)
       3    Appearances .......................................2
       4      JOE MCQUISTON                                                      3             (The reading of Federal Rule 30(b)(5)(A)
       5    Direct Examination by Ms. Fisher ..................5                 4             into the record was waived by all parties
            Cross-Examination by Mr. Visosky.................126
       6    Re-Direct Examination by Ms. Fisher..............139                 5             present.)
       7    Changes and Signature ..........................154                  6                 JOE MCQUISTON,
            Court Reporter's Certificate ....................156
       8
                                                                                 7   having been first duly sworn, testified as follows:
       9                     EXHIBITS                                            8                DIRECT EXAMINATION
      10                                                                         9   BY MS. FISHER:
      11    EXHIBIT      DESCRIPTION               MARKED
      12    1       Notice of Removal          9                                10       Q. Sir, would you please state your full name for
      13    2       Litigation Hold Notice     10                               11   the record.
      14    3       Mandatory Stand-Up Talk       10
      15    4       Document In Re: Joe McQuiston's 71
                                                                                12       A. Joe Don McQuiston.
                   Statement                                                    13       Q. Okay. Mr. McQuiston, have you ever been
      16                                                                        14   deposed before?
            5           Disciplinary Request/Just Cause 77
      17               Worksheet, Dallas District                               15       A. No.
      18    6           August 31, 2012 Letter        78                        16       Q. No. Okay. Now, I'm sure you've had an
      19    7           Document In Re: Part of Report 82
                       of Investigation
                                                                                17   opportunity to meet with the assistant U.S. attorney, but
      20                                                                        18   I would like to make sure and go over the rules so it's
            8          September 7, 2012 Letter              85                 19   in the record. Okay, sir?
      21
            9          Fact Finding Interview              90                   20       A. Uh-huh.
      22                                                                        21       Q. This is going to be a written record. And
            10          U.S. Postal Service EEO                  97
      23               Investigative Affidavit                                  22   because it's a written record, we will need actual verbal
                       (Witness)                                                23   answers. Do you understand?
      24
                                                                                24       A. Yes.
            11          Letter from Kimberly Cox                 105
      25                                                                        25       Q. Because "uh-huh," "huh-uh," head nods, shakes


                                                                                                         2 (Pages 2 to 5)
    Central Texas Litigation Support Services, Inc.                                                                             254-399-9400
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    McQuiston Joe                                                                                                December 2, 2016

                                                       Page 22                                                         Page 24
       1   hurt herself.                                                1              MS. FISHER: Okay.
       2      Q. Okay. Now, following that, there was an estate         2        A. Ask me the question one more time.
       3   sale that you went to. Am I correct, sir?                    3        Q. (By Ms. Fisher) Okay. Was there anything that
       4      A. Yes.                                                   4   you saw, as a layperson, as a management official, that
       5      Q. And, first of all, just before we get to that.         5   led you to believe that any of this would be permanent?
       6   After Ms. Cox had this accident, she was placed on           6              MR. VISOSKY: Object to form.
       7   limited duty, correct, sir?                                  7        A. No. We didn't -- we didn't -- we've had
       8      A. Yes.                                                   8   several conversations while she was there. She was going
       9      Q. Because she had certain physical limitations,          9   to her chiropractor.
      10   correct?                                                    10        Q. (By Ms. Fisher) Okay.
      11      A. Yes.                                                  11        A. I couldn't -- but, again, I'll state this. I'm
      12      Q. Now, they weren't permanent. Am I right?              12   not a doctor, and I can't tell you what her limitations
      13              MR. VISOSKY: Object to form.                     13   and how far the injuries' going to last because you
      14      Q. (By Ms. Fisher) Do you understand my question?        14   can't. You just have to wait until she's released for
      15      A. They -- yes. I -- wait. Now, ask the question         15   full duty from the CA-17.
      16   again.                                                      16        Q. Okay. Now, with that said, do you recall going
      17      Q. Sure.                                                 17   to an estate sale?
      18      A. I'm sorry. I'm sorry.                                 18        A. Yes.
      19      Q. And I'm only asking what you knew at the              19        Q. Okay. Tell me what led up to you going to that
      20   time --                                                     20   estate sale.
      21      A. Uh-huh.                                               21        A. Led up to me going there?
      22      Q. -- okay, sir? But her limitations that                22        Q. Uh-huh. Why did you go?
      23   occurred that limited what she could do were not known to   23        A. Ronnie Sartors, either on Facebook, or whatever
      24   be permanent limitations, correct?                          24   it is now -- because I don't have Facebook, but my wife
      25              MR. VISOSKY: Object to form.                     25   does -- had an estate sale. And there were some tools on


                                                       Page 23                                                         Page 25
       1        A. I can't answer that question because I'm not a       1   there, and I -- I can't -- to my -- best of my knowledge
       2    doctor. I can only go off of what the doctor says on the    2   if I called him or I had her Face -- FaceTime him, or
       3    CA-17.                                                      3   whatever it is, you know, they do.
       4        Q. (By Ms. Fisher) Okay. Were you anticipating          4       Q. Uh-huh?
       5    her to recover?                                             5       A. Say there was some tools that I was interested
       6               MR. VISOSKY: Object to form.                     6   in and remind me of that sale date. And I asked if I
       7        A. I couldn't answer that question. I'd have to         7   could come buy them then, and he said, no, I had to wait
       8    wait 'til the doctor releases her for full duty.            8   on the day of this sale because the lady, whoever she
       9        Q. (By Ms. Fisher) Okay. Was there anything about       9   was, putting on the sale.
      10    her injury that led you to believe that she was going to   10              That morning, I ran the floor like I
      11    be on limited duty, as a layperson, as a management        11   normally do. I scheduled myself to go out with a rural
      12    official?                                                  12   carrier named Rachel Knoebel on her route for a yearly
      13               MR. VISOSKY: Objection, form.                   13   inspection, to count her rural boxes and her mileage.
      14               MS. FISHER: What's the problem with the         14       Q. Uh-huh.
      15    form?                                                      15       A. I was walking out with my clipboard in my hand,
      16               MR. VISOSKY: It's repetitive, and it            16   and my cell phone rang, and it was Ronnie Sartors.
      17    calls for speculation. He's -- as he said, he's not a      17       Q. Okay.
      18    doctor.                                                    18       A. He asked me, "Hey, you coming out here?" I
      19               MS. FISHER: I think he can answer based         19   informed him that I totally forgot. He informed me that
      20    upon his knowledge as a management --                      20   there were two other postal employees out there. One was
      21               MR. VISOSKY: He can answer question, but        21   Debbie Isaacs and the other was Kim Cox.
      22    I --                                                       22       Q. Uh-huh.
      23               MS. FISHER: Okay.                               23       A. And that's when I said, "Kim Cox, what is she
      24               MR. VISOSKY: -- can preserve my                 24   doing out there?" And he said that she was purchasing
      25    objection, yeah.                                           25   some things, and I said, "I'll be out there." So at that



                                                                                           7 (Pages 22 to 25)
    Central Texas Litigation Support Services, Inc.                                                                    254-399-9400
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       1   canceling the inspection. I went into my office. I           1   sale. And then I stood at the -- I guess it was the
       2   might have grabbed my vehicle keys, and I exited the         2   garage entryway right there, and the car was probably --
       3   building.                                                    3   I can't remember what I put in my statement. I'd have to
       4       Q. Did you stop to give any instructions to              4   look at my statement. Twenty -- you know...
       5   someone since you were leaving the workroom floor?           5       Q. It was quite a ways, wasn't it?
       6       A. No, I can't -- not to my knowledge.                   6       A. No.
       7       Q. Okay.                                                 7       Q. Okay.
       8       A. I can't remember.                                     8       A. I walked probably about 15 steps, and I was --
       9       Q. Did you tell anybody when you would be back on        9   20 steps, and I was halfway.
      10   the workroom floor, or when to anticipate you to be back?   10              MR. VISOSKY: Let me just tell you, if you
      11       A. Not to my knowledge. I can't remember.               11   feel comfortable, if you want to look at the items that
      12       Q. Who was the supervisor in charge of the floor        12   you brought today, you're -- you're welcome to do that.
      13   that day?                                                   13              MS. FISHER: I will do that when I want to
      14       A. That morning?                                        14   in my deposition.
      15       Q. Well, when you left?                                 15              MR. VISOSKY: He can -- he can review
      16       A. That would be Cynthia Freeman.                       16   documents that --
      17       Q. Okay. And do you often leave the work -- the         17              MS. FISHER: I will do that.
      18   post office without informing a supervisor?                 18              MR. VISOSKY: -- he's brought.
      19       A. No. I told Cynthia that I would be gone. I'll        19              MS. FISHER: I will do that.
      20   be back -- but I'll be back. I'm coming back. I've got      20              MR. VISOSKY: I'm just letting him know
      21   to go do something.                                         21   that if he feels comfortable --
      22       Q. Okay. So you would have told the person you're       22              MS. FISHER: We will go over it. I -- I'd
      23   with, we're going to discontinue what we're doing?          23   like to have the testimony prior to know what they
      24       A. Yeah. She was just right there --                    24   remember, then we can go in and fill in the blanks.
      25       Q. Yeah.                                                25              MR. VISOSKY: That's --


                                                       Page 31                                                         Page 33
       1      A. -- walking out.                                        1      A. Okay.
       2      Q. And then you would have gone to your office to         2              MR. VISOSKY: That's fine.
       3   have gotten your vehicle keys?                               3      Q. (By Ms. Fisher) Would I be correct, there were
       4      A. Uh-huh. That's about maybe two minutes.                4   numerous cars there that day?
       5      Q. Okay. And then you would have made sure                5      A. I don't remember.
       6   Ms. Freeman knew you were leaving the workroom floor?        6      Q. Okay. You don't remember. Do you recall when
       7      A. That's another minute walking through and then         7   you went into the building that if -- whether or not
       8   going out the door.                                          8   there were other people that were in that building?
       9      Q. Okay. And so basically we can estimate at              9      A. I think there was one gentleman to the corner
      10   least about 5 minutes from the time you took the phone      10   over here (indicating).
      11   call before you got into your vehicle and left the post     11      Q. And you pointed to --
      12   office. Would that sound about right?                       12      A. I'm sorry.
      13      A. Agreed. Yes.                                          13      Q. -- your right?
      14      Q. And then you immediately went on your way to          14      A. I'm sorry. The doors -- if you've never been
      15   Overton? Am I --                                            15   out there, the two doors are facing this a way, and then
      16      A. Yes.                                                  16   you have, I think, a door here. Maybe I went around. I
      17      Q. -- correct? Okay.                                     17   can't remember. There might not even been a door. But
      18              Now, when you arrived at the real estate         18   you come around, and the gentlemen was in the far corner
      19   sale, sir, what did you do?                                 19   over here (indicating).
      20      A. I drove through the entryway. Went around and         20      Q. Okay.
      21   parked behind the -- I guess it was a detached garage or    21      A. If you're looking inside the building, he's to
      22   detached shop. Walked through the door. Ronnie was          22   your left then --
      23   there because he was over that shop. I walked out to        23      Q. Okay.
      24   Ms. Cox's vehicle, walked around it, observed boxes that    24      A. -- in the corner there.
      25   she's already purchased and put in there from the estate    25      Q. And when --



                                                                                           9 (Pages 30 to 33)
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                                                            Page 70                                                     Page 72
       1      A. Or when I was out from the supervisor to the            1       Q. (By Ms. Fisher) And it would be one -- actually
       2   postmaster position, sometime in that year, sometime in       2   one of the items that you brought, sir; but this one I'll
       3   that...                                                       3   go ahead and mark for the record. You can take a look at
       4      Q. Have you looked at her medical restrictions?            4   it, and then let me know when you've seen it.
       5      A. Yes.                                                    5       A. (Witness peruses document.)
       6      Q. Okay. Have you seen anything in her medical             6       Q. Do you recognize this document, sir?
       7   restrictions that limits what she can pick up?                7       A. Yes. That's my statement.
       8      A. I'd have to look at them. I can't -- I can't            8       Q. Okay. Now, at the very beginning of this it
       9   tell you perbatim what they are, but I have reviewed          9   says, "Status." And it puts on there, "On limited duty
      10   them. I just can't tell you what they are right now.         10   with restrictions; reporting at 8:00 a.m. to 16:30 p.m.
      11      Q. And as you sit here today, did you ever check          11   30-minute lunch; placed on stand by time; sits in the
      12   whether or not what Ms. Morris may be picking up exceeded    12   Passport Office."
      13   her weight limitations?                                      13              What duties was Ms. Cox doing in the
      14      A. I did call the OIG one time, and he said he            14   passport office?
      15   already investigated that.                                   15       A. It's -- it's a small room where we take
      16      Q. And my question is -- and I'm going to ask it          16   passports. There is a phone in there. I don't remember
      17   again. Okay, sir? Did you ever personally check whether      17   if she could -- if she was answering the phone or not,
      18   the things that she was picking up would have exceeded       18   but that's pretty much it.
      19   her lifting restrictions?                                    19       Q. Okay. Well, so in essence, she was being
      20      A. No.                                                    20   ordered to come into work every day?
      21      Q. Okay. Do you get any incentives if you have            21              MR. VISOSKY: Object to form.
      22   anything where you're finding fraud?                         22       Q. (By Ms. Fisher) Correct? I mean, she was
      23      A. Repeat that question again.                            23   scheduled to come into work, correct?
      24             MR. VISOSKY: Object to the form.                   24       A. Correct.
      25      Q. (By Ms. Fisher) Do you get any incentives as a         25       Q. Okay. And she was then informed, which is


                                                            Page 71                                                     Page 73
       1    management official if you can say, "I found fraud"?         1   ordered --
       2       A. What's the definition --                               2       A. Uh-huh.
       3              MR. VISOSKY: Object to form.                       3       Q. -- that she would be sitting in the passport
       4       A. -- of "incentives"?                                    4   office, correct?
       5       Q. (By Ms. Fisher) Anything that would be                 5               MR. VISOSKY: Object to form.
       6    something that --                                            6       A. She -- there is a form, and I can't remember
       7       A. A pen?                                                 7   the numbers. It's a 30-something X. You write down what
       8       Q. Anything, sir.                                         8   her duties are, which falls in between her restrictions.
       9       A. No.                                                    9   And if I filled it out, she signed it. And I don't know
      10       Q. No? Nothing?                                          10   if it's in that packet or not.
      11       A. Nothing.                                              11               MS. FISHER: Okay. Objection,
      12       Q. Why did you ask me what I thought was an              12   nonresponsive.
      13    incentive?                                                  13       Q. (By Ms. Fisher) But my question is: That she
      14       A. I needed to know your definition of an                14   was being required to show up at the post office and go
      15    incentive.                                                  15   to the passport office, correct?
      16       Q. Okay. So what do you think that you received          16       A. Yes, that's correct.
      17    that may not be within my definition of an incentive that   17       Q. Okay. And if she was given no duties, she was
      18    would make you ask that question?                           18   being made to come in and sit down at the post office
      19              MR. VISOSKY: Object to form.                      19   with virtually nothing to do?
      20       A. I asked the question.                                 20               MR. VISOSKY: Object to form.
      21              (Exhibit 4 marked)                                21       Q. (By Ms. Fisher) Correct?
      22       Q. (By Ms. Fisher) Okay. Okay. I'm going to have         22       A. Correct.
      23    you look at what is Exhibit No. -- Deposition Exhibit       23       Q. Okay. Why?
      24    No. 4.                                                      24       A. Because of her limitations --
      25              MS. FISHER: There you go, sir.                    25       Q. Okay.



                                                                                          19 (Pages 70 to 73)
    Central Texas Litigation Support Services, Inc.                                                                     254-399-9400
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                                                            Page 154                                                     Page 156
       1            CHANGES AND SIGNATURE                               1            REPORTER'S CERTIFICATE
       2   WITNESS NAME: JOE MCQUISTON                                  2          ORAL DEPOSITION OF JOE MCQUISTON
       3   DATE OF DEPOSITION: DECEMBER 2, 2016                         3             DECEMBER 2, 2016
       4   PAGE    LINE      CHANGE                 REASON              4
       5   ________________________________________________________     5
       6   ________________________________________________________
                                                                        6      I, Amber Collins, Certified Shorthand Reporter in
                                                                        7   and for the State of Texas, hereby certify to the
       7   ________________________________________________________
                                                                        8   following:
       8   ________________________________________________________
                                                                        9      That the witness, JOE MCQUISTON, was duly sworn by
       9   ________________________________________________________
                                                                       10   the officer and that the transcript of the oral
      10   ________________________________________________________
                                                                       11   deposition is a true record of the testimony given by
      11   ________________________________________________________    12   the witness;
      12   ________________________________________________________    13      That the original deposition was delivered to
      13   ________________________________________________________    14   Ms. Fisher, Custodial Attorney.
      14   ________________________________________________________    15      That pursuant to information given to the deposition
      15   ________________________________________________________    16   officer at the time said testimony was taken, the
      16   ________________________________________________________    17   following includes all parties of record and the amount
      17   ________________________________________________________    18   of time used by each party at the time of the
      18   ________________________________________________________    19   deposition:
      19   ________________________________________________________
                                                                       20      Ms. Fisher (2 hours, 34 minutes)
      20   ________________________________________________________
                                                                                   Attorney for Plaintiff
                                                                       21
      21   ________________________________________________________
                                                                              Mr. Visosky (0 hours, 17 minutes)
      22   ________________________________________________________
                                                                       22         Attorney for Defendant
      23   ________________________________________________________
                                                                       23     That a copy of this certificate was served on all
      24   ________________________________________________________    24   parties and/or the witness shown herein on
      25   ________________________________________________________    25   ______________.


                                                            Page 155                                                     Page 157
       1     I, JOE MCQUISTON, have read the foregoing deposition       1      I further certify that pursuant to FRCP Rule 30(3)
       2   and hereby affix my signature that same is true and          2   that the signature of the deponent:
       3   correct, except as noted above.                              3           X was requested by the deponent or a party
       4                     ________________________                   4   before the completion of the deposition and that the
       5                     JOE MCQUISTON                              5   signature is to be before any notary public and returned
       6
                                                                        6   within 30 days from date of receipt of the transcript.
                                                                        7   If returned, the attached Changes and Signature Page
       7   THE STATE OF _______________)
                                                                        8   contains any changes and the reasons therefore.
       8   COUNTY OF __________________)
                                                                        9          _____ was not requested by the deponent or a
       9
                                                                       10   party before the completion of the deposition.
      10     Before me, ____________________________, on this day      11      I further certify that I am neither counsel for,
      11   personally appeared JOE MCQUISTON, known to me (or          12   related to, nor employed by any of the parties or
      12   proved to me under oath or through _______________)         13   attorneys in the action in which this proceeding was
      13   (description of identity card or other document) to be      14   taken, and further that I am not financially or
      14   the person whose name is subscribed to the foregoing        15   otherwise interested in the outcome of the action.
      15   instrument and acknowledged to me that he/she executed      16      Certified to by me on this 19th day of
      16   the same for the purpose and consideration therein          17   December, 2016.
                                                                       18
      17   expressed.
                                                                       19
      18     Given under my hand and seal of office on this _____
                                                                       20
      19   day of __________________, _______.
                                                                       21               _____________________________________
      20
                                                                                        Amber Collins, CSR
      21                   __________________________                  22               Texas CSR 9086
      22                   NOTARY PUBLIC IN AND FOR                                     Expiration: 12/31/2016
      23                   THE STATE OF _____________                  23
      24   My Commission Expires: _________                            24
      25   ______No Changes Made ______Amendment Sheet(s) Attached     25



                                                                                     40 (Pages 154 to 157)
    Central Texas Litigation Support Services, Inc.                                                                        254-399-9400
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       1   STATE OF TEXAS )
       2   COUNTY OF RUSK )
       3
       4      I hereby certify that the witness was notified on
       5   ___________ that the witness has 30 days or
       6   (________days per agreement of counsel) after being
       7   notified by the officer that the transcript is available
       8   for review by the witness and if there are changes in
       9   the form and substance to be made, then the witness
      10   shall sign a statement reciting such changes and the
      11   reasons given by the witness for making them;
      12      That the witness' signature was/was not returned as
      13   of __________________.
      14      Subscribed and sworn to on this, the ______day of
      15   __________________, 2016.
      16
      17
      18
      19
      20               _____________________________________
      21               Amber Collins, CSR
                       Texas CSR 9086
      22               Expiration: 12/31/2016
      23
      24
      25




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    Central Texas Litigation Support Services, Inc.                                                254-399-9400
